         2:17-cv-02146-EIL # 1       Page 1 of 10                                                 E-FILED
                                                                       Friday, 23 June, 2017 01:44:12 PM
                                                                            Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS

Leland Foster,                                  )
                                                )
              Plaintiff,                        )   Case No. 2:17-cv-2146
v.                                              )
                                                )
SHRI HARI KRUPA CP, INC., an Illinois           )   Judge:
Corporation,                                    )
                                                )
                                                )
                                                )
              Defendant.                        )



               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

       Plaintiff, Leland Foster, individually, by and through the undersigned counsel, Owen B.

Dunn, Jr., Counsel for Plaintiff, hereby files this Complaint against Defendant SHRI HARI

KRUPA CP, INC., an Illinois Corporation for Profit for injunctive relief, damages, attorneys’

fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”), alleging as follows:

                                 JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Leland Foster, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendant

       as delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original


                                                1
       2:17-cv-02146-EIL # 1         Page 2 of 10



     jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

     United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

     actions to secure civil rights extended by the United States government.

3.   Venue is proper in the Central District of Illinois as venue lies in the judicial district of

     the property situs. The Defendant’s property and operations complained of by Plaintiff

     are located in this judicial district, where the business of public accommodation is

     conducted, including the acts complained of herein.

                                          PARTIES

4.   Plaintiff, Leland Foster (“Plaintiff”) is an Ohio resident, is sui juris, and qualifies as an

     individual with disability as defined by the ADA, 42 U.S.C. § 12102(2), 28 C.F.R.

     36.104.

5.   Defendant SHRI HARI KRUPA CP, INC. owns a Baymont Inn & Suites located at 302

     W Anthony Dr, Champaign, IL 61822 in Champaign County. Plaintiff has twice been an

     overnight guest at Defendant’s hotel previously as a place of public accommodation.

6.   Upon information and belief, the facilities owned by SHRI HARI KRUPA CP, INC. are

     non-compliant with the remedial provisions of the ADA. As Defendant owns, leases,

     leases to, or operates a place of public accommodation as defined by the ADA and the

     regulations implementing the ADA, 28 CFR 36.201(a) and 36.104, Defendant is

     responsible for complying with the obligations of the ADA. Defendant’s facilities as a

     hotel and place of public accommodation fails to comply with the ADA and its

     regulations, as also described further herein.

7.   Plaintiff is an individual diagnosed with cerebral palsy and permanently uses a

     wheelchair for mobility. Plaintiff also has difficulty grasping with his hands also as a

                                               2
        2:17-cv-02146-EIL # 1         Page 3 of 10



      result of his disability. As such, he is substantially limited in performing one or more

      major life activities, including but not limited to, standing and walking, as defined by the

      ADA and its regulations thereto. On or about April 7-8, 2014 and again on September

      22-23, 2016, Plaintiff was an overnight guest at the property that forms the basis of this

      lawsuit and plans to return to the property to avail himself of the goods and services

      offered to the public at the property.

8.    Plaintiff is an avid adaptive sports enthusiast and participates regularly with the active

      local adaptive sports community, including hand cycle events in central Illinois. Through

      his involvement in adaptive sports he has established friendships throughout Illinois.

      Further, Plaintiff is a member of a triathlon club based in Chicago, IL which also

      participates in events widely in central Illinois. Leland Foster frequents many

      establishments in the Champaign County region, which hosts many events for disabled

      individuals. As indicated, the Plaintiff has no fewer than twice been a bona fide overnight

      guest at the Defendant’s hotel. During the Plaintiff’s visits to Defendant’s hotel he

      encountered architectural barriers at the subject property that violate the ADA and its

      regulations. The barriers to access at the property have endangered Plaintiff’s safety.

9.    The Plaintiff, Leland Foster, advised the front desk clerk, as well as a manager or owner

      who was present while supervising an ongoing renovation project, of his specific

      concerns. He was advised at that time the pending projects included renovating all

      counter tops and paint this year and renovating the carpet and furniture next year. But that

      his concerns were not scheduled to be addressed.

10.   Completely independent of the personal desire to have access to this place of public

      accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

                                               3
        2:17-cv-02146-EIL # 1         Page 4 of 10



      purpose of discovering, encountering, and engaging discrimination against the disabled in

      public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

      Plaintiff personally visits the public accommodation; engages all of the barriers to access,

      or at least all of those that Plaintiff is able to access; and tests all of those barriers to

      access to determine whether and the extent to which they are illegal barriers to access;

      proceeds with legal action to enjoin such discrimination; and subsequently returns to the

      premises to verify its compliance or non-compliance with the ADA and to otherwise use

      the public accommodation as members of the able-bodied community are able to do.

      Independent of other visits, Plaintiff also intends to visit the premises annually to verify

      its compliance or non-compliance with the ADA, and its maintenance of the accessible

      features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity as a

      bona fide customer and as a “tester,” visited the Facility, encountered barriers to access at

      the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

      and will continue to suffer such harm and injury as a result of the illegal barriers to access

      and the ADA violations set forth herein.

11.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations contained in this complaint.         Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Plaintiff desires to visit the Defendant’s place of

      business again on future occasions, not only to avail himself of the goods and services

      available at the property but to assure himself that this property is in compliance with the

      ADA so that he and others similarly situated will have full and equal enjoyment of the

                                                 4
         2:17-cv-02146-EIL # 1         Page 5 of 10



       hotel and its amenities without fear of discrimination.

12.    The Defendant has discriminated against the individual Plaintiff by denying him access to

       the full and equal enjoyment of the goods, services, facilities, privileges, advantages

       and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

13.    The Defendant has discriminated and is continuing to discriminate, against the Plaintiff in

       violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

       1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

       $500,000 or less).

14.    A preliminary inspection of the Baymont Inn & Suites owned by SHRI HARI KRUPA

       CP, INC., including its facilities, has shown that many violations of the ADA exist.

       These violations include, but are not limited to:

Parking and Accessible Routes


       A. The passenger loading zone does not contain required marked access aisle and
          otherwise does not comply with the requirements of the ADA, in violation of the
          ADA whose remedy is readily achievable.

       B. There are an insufficient number of designated accessible parking spaces, in violation
          of the ADA whose remedy is readily achievable.

       C. Designated van accessible parking spaces are not marked as such, in violation of the
          ADA whose remedy is readily achievable.

Access to Goods and Services

       D. The registration service counter alternate surface does nto meet required dimensaion
          and does not constitute equivalent facilitation, in violation of the ADA whose remedy
          is readily achievable.

       E. In the business center, the desk does not allow for sufficient knee clearance, in
          violation of the ADA whose remedy is readily achievable.

       F. There is no accessible route to the picnic tables and grill amenity offered for guest
          use, in violation of the ADA whose remedy is readily achievable.
                                                 5
        2:17-cv-02146-EIL # 1        Page 6 of 10




Lobby Restroom

      G. The grab bars around the water closet are non-compliant, in violation of the ADA
         whose remedy is readily achievable.

      H. There are amenities, including toilet seat covers, mounted in excess of the allowable
         reach range, in violation of the ADA whose remedy is readily achievable.

      I. The mirror is mounted in excess of the allowable height, in violation of the ADA
         whose remedy is readily achievable.

      J. Toilet paper dispensers are not mounted where required, in violation of the ADA
         whose remedy is readily achievable.

      K. There is insufficient knee clearance at the lavatory, in violation of the ADA whose
         remedy is readily achievable.

      L. The lavatory pipes are not insulated to protect for scalding or contact, in violation of
         the ADA whose remedy is readily achievable.

      M. There is insufficient clear floor space to approach the water closet due to an inward-
         swinging door, in violation of the ADA whose remedy is readily achievable.

      N. The door hardware requires tight-grasping or twisting to lock, in violation of the
         ADA whose remedy is readily achievable.

Designated Mobility Accessible Guestrooms

      O. The viewing hole in the entrance door is located in excess of allowable height, in
         violation of the ADA whose remedy is readily achievable.

      P. The door locking mechanism on the entrance door is mounted in excess of allowable
         reach range, in violation of the ADA whose remedy is readily achievable.

      Q. The coat hooks and iron are located in excess of allowable reach range, in violation of
         the ADA whose remedy is readily achievable.

      R. There is insufficient latch-side clearance to exit the room, in violation of the ADA
         whose remedy is readily achievable.

      S. The curtain adjuster is located in excess of allowable reach range and requires tight-
         grasping or twisting to operate, in violation of the ADA whose remedy is readily
         achievable.

                                                6
  2:17-cv-02146-EIL # 1        Page 7 of 10



T. There is insufficient clear floor space to access the curtain adjuster or thermostat
   controls due to the placement of the desk, in violation of the ADA whose remedy is
   readily achievable.

U. The desk has insufficient knee clearance, in violation of the ADA whose remedy is
   readily achievable.

V. In the bathroom, the grab bars around the water closet are non-compliant, in violation
   of the ADA whose remedy is readily achievable.

W. In the bathroom, the toilet paper dispensers are not mounted as required, in violation
   of the ADA whose remedy is readily achievable.

X. In the bathroom, the bathtub grab bars are non-compliant, in violation of the ADA
   whose remedy is readily achievable.

Y. In the bathroom, the tub faucet controls require tight-grasping or twisting, in violation
   of the ADA whose remedy is readily achievable.

Z. In the bathroom, there is no handheld shower spray unit, in violation of the ADA
   whose remedy is readily achievable.

AA. In the bathroom, there is insufficient knee clearance under the lavatory, in
  violation of the ADA whose remedy is readily achievable.

BB. In the bathroom, the robe hooks are mounted in excess of allowable reach range,
   in violation of the ADA whose remedy is readily achievable.

CC. In the bathroom, there is insufficient clear floor space to access the lavatory due
   to an inward-swinging door, in violation of the ADA whose remedy is readily
   achievable.

DD. In designated mobility accessible guestroom received in his April 2014, the tub
  faucet control requires excess force to operate and its use is impeded by placement of
  the grab bars in the tub, and was literally inoperable, in violation of the ADA whose
  remedy is readily achievable.

EE. The hotel has an insufficient number of designated mobility accessible guestrooms,
    whereas a minimum of five are required, in violation of the ADA whose remedy is
    readily achievable.

FF. The hotel has no designated mobility accessible guestroom fitted with a roll-in
    shower, whereas a minimum of one is required, in addition to 4 accessible
    guestrooms fitted with an accessible tub, in violation of the ADA whose remedy is
    readily achievable.

                                         7
         2:17-cv-02146-EIL # 1         Page 8 of 10



Policies and Procedures

       GG. The Defendant lacks or has inadequate defined policies and procedures for the
         assistance of disabled patrons, in violation of the ADA whose remedy is readily
         achievable.


15.    The discriminatory violations described in Paragraph 14 by Defendant SHRI HARI

       KRUPA CP, INC. are not an exclusive list of the Defendant’s ADA violations. Plaintiff

       requires further inspection of the Defendant’s place of public accommodation and

       facilities in order to photograph and measure all of the discriminatory acts violating the

       ADA and all of the barriers to access.           The Plaintiff has been denied access to

       Defendant’s accommodations; benefit of services; activities; and has otherwise been

       discriminated against and damaged by the Defendant, as set forth above. The individual

       Plaintiff, and all others similarly situated will continue to suffer such discrimination,

       injury and damage without the immediate relief provided by the ADA as requested

       herein.   In order to remedy this discriminatory situation, the Plaintiff requires an

       inspection of the Defendant’s place of public accommodation, facilities and operations in

       order to determine all of the areas of non-compliance with the Americans with

       Disabilities Act.

                                COUNT I
             VIOLATION OF THE AMERICANS WITH DISABILITES ACT

16.    Plaintiff restates the allegations of ¶¶1-15 as if fully rewritten here.

17.     The hotel at issue, as owned and operated by SHRI HARI KRUPA CP, INC.,

        constitutes a public accommodation and service establishment, and as such, must be, but

        is not, in compliance with the Americans with Disabilities Act ("ADA") or Americans

        with Disabilities Act Accessibility Guidelines ("ADAAG").

                                                  8
        2:17-cv-02146-EIL # 1         Page 9 of 10



18.   Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

      privileges, and advantages of the property on the basis of disability due to Defendant’s

      failure to comply with Title III of the Americans with Disabilities Act and its

      accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

      continue to discriminate against Plaintiff and others with disabilities unless and until

      Defendant is compelled to remove all physical barriers that exist at the facility, including

      those specifically set forth herein, and make the facility accessible to and usable by

      persons with disabilities, including Plaintiff.

19.   The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

      and is damaged by irreparable harm.           Plaintiff reasonably anticipates that he will

      continue to suffer irreparable harm unless and until Defendant is required to remove the

      physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

      including those set forth herein.

20.   Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

      requiring Defendant to make such readily achievable alterations as are legally required to

      provide full and equal enjoyment of the goods, services, facilities, privileges, and

      advantages on its property to disabled persons. In connection with that relief, Plaintiff

      requests reasonable attorney’s fees and costs of maintaining this action.

WHEREFORE, Plaintiff demands,

      For COUNT I, an injunction requiring Defendant to make all readily achievable

      alterations and institute policies and procedures to allow full and equal enjoyment of the

      goods, services, facilities, privileges, and advantages to disabled persons, and the

      reasonable attorneys’ fees and costs of maintaining this action.

                                                9
2:17-cv-02146-EIL # 1   Page 10 of 10




                             Respectfully Submitted,

                             Counsel for Plaintiff:

                             /s/ Owen B Dunn Jr.
                             Owen B. Dunn, Jr., Esq. (MI Bar no. p66315)
                             Law Offices of Owen Dunn, Jr.
                             The Ottawa Hills Shopping Center
                             4334 W. Central Ave., Suite 222
                             Toledo, OH 43615
                             (419) 241-9661 – Phone
                             (419) 241-9737 – Facsimile
                             Monroe, MI (734) 240-0848
                             dunnlawoffice@sbcglobal.net
                             admitted to practice in U.S.D.Ct for Central IL




                               10
